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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK


    In re:                                                     Chapter 11

    East Coast TVs Inc, et al.,                                Case No. 18-40765 (ESS)

                                      Debtors. 1               (Jointly Administered)


           INTERIM ORDER AUTHORIZING THE DEBTORS TO SATISFY
      PREPETITION CLAIMS RELATING TO COMMON CARRIERS, PURSUANT TO
                  SECTION 105(a) OF THE BANKRUPTCY CODE


             Upon the motion, dated February 13, 2018 (the “Motion”) 1 of the above-captioned debtors

and debtors in possession (the “Debtors”) for an order authorizing the Debtors to satisfy prepetition

claims relating to Common Carriers, pursuant to Section 105(a) of the Bankruptcy Code and upon

consideration of the Declaration of Isaac Barnathan in Support of the Debtors’ Chapter 11 Petition

and Request for First Day Relief; and the Court having jurisdiction to consider the Motion and the

relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and consideration of the Motion

and the requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being

proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the

Motion having been provided to the parties listed therein, and it appearing that no other or further

notice need be provided; and the Court having determined that the legal and factual bases set forth

in the Motion establish just cause for the relief granted herein; and it appearing that the relief

requested in the Motion is in the best interests of the Debtors, their estates, and creditors; and upon




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number,
are: East Coast TVs Inc (0300) and Garden State Installations II, Inc (4391).
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  All capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.



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all of the proceedings had before the Court and after due deliberation and sufficient cause

appearing therefor,

        IT IS HEREBY ORDERED THAT:

            1.   Pursuant to section 105(a) of the Bankruptcy Code, the Debtors are authorized, but

  not directed, to pay, in their sole discretion, valid prepetition Common Carrier Charges in

  amounts not to exceed $7,500.00 to AM Trucking and $2,784.58 to UPS on an interim basis.

            2.   Nothing in this Order or the Motion shall be construed as prejudicing the Debtors’

  right to dispute or contest the amount of, or basis for, any claims against the Debtors relating to

  the Common Carrier Charges and related charges.

            3.   Notwithstanding the relief granted herein and any actions taken hereunder, nothing

  contained herein shall constitute, nor is it intended to constitute, an assumption of any contract

  under section 365 of the Bankruptcy Code or the waiver by the Debtors any of their rights

  pursuant to any agreement by operation of law or otherwise.

            4.   The Debtors are authorized and empowered to take all actions necessary to

  implement the relief granted in this Order.

            5.   This Court retains may retain jurisdiction with respect to all matters arising from

  or related to the implementation of this Order.

            6.   Bankruptcy Rule 6003(b) has been satisfied.

            7.   The requirements of Bankruptcy Rule 6004(a) are waived.

            8.   Notwithstanding any applicability of Bankruptcy Rule 6004(h), the terms and

  conditions of this Order shall be immediately effective and enforceable upon entry of this Order.




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            9.   Final Hearing

            a.   The Bankruptcy Court shall hold a final hearing to consider granting the relief

            requested in the Motion on a final basis on March 14, 2018, at 9:30 a.m. (Eastern Time)

            at the United States Bankruptcy Court for the Eastern District of New York.

            b.   Final Hearing Notice. On or before February 21, 2018, the Debtors shall serve, by

            United States mail, first-class postage prepaid (such service constituting adequate notice

            of the Final Hearing), (i) notice of the entry of this Interim Order and of the Final Hearing

            (the “Final Hearing Notice”) and (ii) a copy of this Interim Order on the parties that were

            given notice of the Interim Hearing and to any other party that has filed a request for

            notices with this Court and to any appointed official committee and its counsel. The

            Final Hearing Notice shall state that any party in interest objecting to the entry of the

            proposed Final Order shall file written objections with the Clerk of the Bankruptcy Court

            by no later than March 7, 2018 at 4:30 p.m. (Eastern Time), which objections shall be

            served so that the same are actually received on or before such date by: (a) counsel to the

            Debtors and (b) the U.S. Trustee.




                                                                     ____________________________
 Dated: Brooklyn, New York                                                  Elizabeth S. Stong
        February 16, 2018                                            United States Bankruptcy Judge


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